Case 1:17-cv-01942-WYD-MEH Document 69 Filed 05/24/18 USDC Colorado Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-01942-WYD-MEH

  ROBERT JOHNSON,

         Plaintiff,

  v.

  TYLER SIMONSON, in his individual capacity,
  ST. MARY’S HOSPITAL & MEDICAL CENTER, INC., and
  HSS, INC.,

         Defendants.


                                         MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on May 24, 2018.

         Before the Court is a Motion to Withdraw as Counsel for Plaintiff filed by Julian G.G.
  Wolfson [ECF No. 66]. The Court will hold a hearing on this matter on June 18, 2018 at 1:30 p.m.
  in Courtroom A-501, on the fifth floor of the Alfred A. Arraj United States Courthouse located at
  901 19th Street, Denver, Colorado.

           The Plaintiff and Plaintiff’s counsel shall appear at the conference in person unless they
  demonstrate good cause to appear by telephone. Defense counsel may appear by telephone or in
  person. However, if more than one party or attorney is permitted to appear by telephone, they shall
  first teleconference together, then call my chambers at (303) 844-4507 at the appointed time.

         Plaintiff’s counsel shall ensure that the Plaintiff receives a copy of this order as soon as
  possible and shall file a certificate of service demonstrating the means of delivery.

          If the conference date is not convenient, the parties shall confer and contact my Chambers
  to obtain an alternate date as follows. All parties must be present or copied if they wish to change
  the conference date by telephone or email; otherwise, any party seeking to change the conference
  date must file a motion. Absent exceptional circumstances, no request for rescheduling will be
  entertained unless made five business days prior to the date of the conference.

        Please remember that anyone seeking entry into the Alfred A. Arraj United States
  Courthouse will be required to show a valid photo identification. See D.C. Colo. LCivR 83.2(b).
